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                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION


ANDREW H. WARREN,

                    Plaintiff,                 Case No. 4:22-cv-302-RH-MAF
v.
RON DESANTIS, individually and in
his official capacity as Governor of the
State of Florida,

                    Defendant.

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                                      NOTICE

      Defendant Ron DeSantis, pursuant to this Court’s Order on Depositions of the

Governor and Chief of Staff (Doc. 98), hereby waives the right to call himself and

his Chief of Staff, James Uthmeier, as witnesses at the trial.

      Respectfully submitted this 3rd day of November 2022.

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                        CERTIFICATE OF SERVICE

      I hereby certify that on November 3, 2022, a true and correct copy of the
foregoing document was served upon all counsel of record via email, as follows:

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